     Case 1:22-cr-00241-JLT-SKO Document 10 Filed 01/12/23 Page 1 of 3


1    PHILLIP A. TALBERT
     United States Attorney
2    JOSEPH D. BARTON
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
6    Attorneys for Plaintiff
     United States of America
7
8
9                             IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA                           Case No. 1:22-cr-00241-JLT-SKO
13                   Plaintiff,                          STIPULATION TO CONTINUE
                                                         STATUS CONFERENCE; ORDER
14
            v.
15
      RICHARD BEST                                       DATE: January 18, 2023
16                                                       TIME:  1:00 p.m.
                     Defendant.                          JUDGE: Hon. Sheila K. Oberto
17
18
19          IT IS HEREBY STIPULATED by and between the parties through their respective
20   counsel that the Status Conference scheduled for January 18, 2023, may be continued until
21   March 29, 2023, at 1:00 p.m., before the Honorable Sheila K. Oberto. The government has
22   produced discovery to defense counsel. Defense counsel has further investigation to perform in
23   this case. The parties agree that time under the Speedy Trial Act shall be excluded through
24   March 29, 2023, in the interests of justice, including but not limited to, the need for effective
25   defense preparation and defense investigation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
26   3161(h)(7)(B)(i) and (iv).
27   ///
28   ///
     Case 1:22-cr-00241-JLT-SKO Document 10 Filed 01/12/23 Page 2 of 3


1    The parties also agree that the ends of justice served by taking this action outweigh the best
2    interests of the public and of the Defendant to a speedy trial.
3
4     Dated: January 10, 2023                              /s/ Jeffrey Hammerschmidt
                                                           JEFFREY HAMMERSCHMIDT
5                                                          Counsel for Richard Best
6
      Dated: January 10, 2023                              /s/ Joseph Barton
7
                                                           JOSEPH BARTON
8                                                          Assistant United States Attorney

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     Assistant United States Attorney
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     Fresno, CA 93721
4    Telephone: (559) 497-4000
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      UNITED STATES OF AMERICA                          Case No. 1:22-cr-00241-JLT-SKO
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                     Plaintiff,                         ORDER
13
            v.
14
      RICHARD BEST
15
                     Defendant.
16
17
                                                ORDER
18
            Upon the Parties’ stipulation and for good cause shown, the Status Conference scheduled
19
     for January 18, 2023, is continued until March 29, 2023, at 1:00 p.m., before the Honorable
20
     Sheila K. Oberto. The period through March 29, 2023, inclusive, is excluded pursuant to 18
21
     U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
22
            IT IS SO ORDERED.
23
      DATED: 1/11/2022
24
25                                                HONORABLE SHEILA K. OBERTO
                                                  UNITED STATES MAGISTRATE JUDGE
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